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                Exhibit A
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                                                      The First State

                                                          CERTIFICATE


          I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

   DELAWARE DO HEREBY CERTIFY THAT THE ABOVE AND FOREGOING ARE THE TRUE

   AND CORRECT COPIES OF ALL FINANCING STATEMENTS, LAPSED FINANCING

   STATEMENTS AND/OR ANY UCC3’S FILED IN THE OFFICE OF UNIFORM

   COMMERCIAL CODE                WITH DEBTOR “SOCLEAN, INC.                ” .




20257108189-UCCXP                                                                 Authentication: 203601367
SR# 20242683178                                                                               Date: 05-31-24
You may verify this certificate online at corp.delaware.gov/authver.shtml
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